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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                          Case No. 22-cr-180 (JNE/TNL)

             Plaintiff,

v.                                                            ORDER

Anthony Lee Hitchcock,

             Defendant.


      This matter comes before the Court on Defendant Anthony Lee Hitchcock’s

Motion for Disclosure of Information Prior to the Pretrial Hearing Regarding

Surveillance Location and Inspection of Surveillance Location Under Fed. R. Crim. P.

16(a)(1)(E), ECF No. 21; Motion for Production of Seized Evidence at the Pretrial

Hearing, ECF No. 22; Motion for Continuance of Pretrial Motions Hearing and Trial

Date, ECF No. 38; and Statement of Facts in Support of Exclusion of Time Under

Speedy Trial Act, ECF No. 39.

                                  I. BACKGROUND

      As summarized by Defendant, the allegations in this case involve law enforcement

“working in a surveillance capacity in an area of Broadway / Lyndale Avenue North.”

ECF No. 21 at 1-2. Law enforcement observed a vehicle enter a gas station in the area

and Defendant exit the vehicle.    ECF No. 21 at 2; see ECF No. 38 at 1.          A law

enforcement officer then allegedly “observ[ed] . . . the outline of a handgun in the left

side of the jean jacket pocket that [Defendant] was wearing on that date,” ECF No. 21 at


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2 (quotation omitted), and “claimed that the imprint of the gun in [Defendant’s] pocket

was so clear he could tell with precision that the gun was in an ‘upside down’ position

with the magazine pointed upward,” ECF No. 21 at 2; see also ECF No. 22 at 2.

According to Defendant, “[i]t was this supposed observation by [law enforcement] that

the [G]overnment claims provide[d] the probable cause to seize, arrest, and search [him]

at the time in question.” ECF No. 21 at 2.

       Under Federal Rule of Criminal Procedure 16(a)(1)(E), Defendant moves for

disclosure of the location from which law enforcement was conducting the surveillance

and “the opportunity to enter onto the designated land or place.” ECF No. 21 at 2; see

also ECF No. 38 at 2 (“The defense has also made a motion to inspect the surveillance

location under Fed. R. Crim. P. 16(a)(1)(B) [sic] (ECF No. 21). The motion under that

rule requests (1) disclosure prior to the pretrial hearing of information regarding the

physical location of the officers on May 4, 2022, when they were conducting surveillance

of the defendant prior to his seizure, arrest, and search, and (2) the opportunity to inspect

and photograph the location.”). Defendant also moves for the Government “to physically

produce at the pretrial hearing in this case” both the jean jacket Defendant was wearing

and the firearm allegedly recovered from Defendant. ECF No. 22 at 1. Defendant asserts

that “[t]he best evidence on this is an opportunity for defense counsel to question the

police officers involved in [his] seizure, arrest, and search regarding the actual evidence

seized and for the Court to be able to make observations of its own about whether the

supposed observations could actually have been made so as to justify the probable cause

required in this case to seize, arrest, and search [him].” ECF No. 22 at 2.

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       In his motion to continue the pretrial motions hearing, Defendant notes that there

is “body cam footage of the officer conducting the surveillance at or near the time that the

purported observations . . . were made.” ECF No. 38 at 2. Defendant asserts that “[t]he

parties have been trying to coordinate an opportunity for the defense to view that footage

and have been unsuccessful in scheduling a viewing of that evidence.” ECF No. 38 at 2.

Defendant seeks a continuance of the pretrial motions hearing currently scheduled for

October 6, 2022.

       The Government objects to disclosure of the surveillance location, countering that

Defendant has not met his burden “as to why the precise location of the surveillance spot

is material.” ECF No. 40 at 7. Additionally, the Government contends that, even if

Defendant had met his burden, requiring disclosure of the location “would endanger the

public interest.” ECF No. 40 at 7. According to the Government,

              public disclosure of the location wherein law enforcement
              officers conduct surveillance of a high-crime location would
              allow criminals to tailor their movements to hide illegal
              activity; it would allow criminals to conduct counter-
              surveillance to learn when law enforcement officers are and
              are not present; and it would even raise the possibility that
              officers could be ambushed entering or leaving the
              surveillance location.

ECF No. 40 at 8. The Government, however, has no objection to Defendant’s request

that his jean jacket and the firearm allegedly recovered on his person be produced at the

pretrial motions hearing and “agrees to have those items present.” ECF No. 40 at 8. The

Government also has no objection to the requested continuance.




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                                      II. ANALYSIS

       A. Motion for Disclosure

       Under Federal Rule of Criminal Procedure 16(a)(1)(E)(i), “[u]pon a defendant’s

request, the government must permit the defendant to inspect and . . . photograph . . .

buildings or places . . . if the item is within the government’s possession, custody, or

control and . . . is material to preparing the defense.” This Court has broad discretion

with respect to pretrial motions for production. See, e.g., United States v. Hoeffener, 950

F.3d 1037, 1043 (8th Cir. 2020); United States v. Jean, 891 F.3d 712, 715 (8th Cir.

2018); United States v. Hintzman, 806 F.2d 840, 846 (8th Cir. 1986); see also Fed. R.

Crim. P. 16(d) (“At any time, the court may, for good cause, deny, restrict, or defer

discovery or inspection, or grant other appropriate relief.”).

       Defendant contends that the disclosure of the surveillance location is material to

his defense. “‘Material’ means ‘helpful to the defense.’” Jean, 891 F.3d at 715; see

Hoeffener, 950 F.3d at 1043 (“When determining whether to order disclosure of

information, one of the most relevant factors to be weighed by the court is whether or not

the evidence is material to the accused[’s] defense.” (quotation omitted)). “[A] showing

of materiality is not satisfied by a mere conclusory allegation that the requested

information is material to the preparation of the defense.”       Jean, 891 F.3d at 715

(quotation omitted); see also Hoeffener, 950 F.3d at 1043 (“Materiality must be shown by

more than mere speculation or conjecture.”). “Even if a defendant successfully shows

materiality, the district court may allow the government to withhold information to

further and protect the public interest in effective law enforcement.” Jean, 891 F.3d at

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715 (quotation omitted).

      Defendant asserts that the alleged observations of law enforcement “are at the very

heart of the [G]overnment’s claim that [law enforcement] had probable cause to seize,

arrest, and search him,” and the questions of what the officer would “have actually been

able to physically observe from his surveillance location” and what the officer “actually

observe[d]” are central to his ability to cross-examine the officer. ECF No. 21 at 2. The

Government responds that “Defendant will be able to probe and assess [the] strength and

weakness of the officer through the crucible of cross-examination,” and “has not

identified a reason why he must know the precise location of a law-enforcement sensitive

surveillance position in order to effectively cross-examine that witness.” ECF No. 40 at

7.

      In United States v. Green, the District of Columbia Circuit Court of Appeals held

“that the Government has a qualified privilege during a suppression hearing not to

disclose its surveillance locations.” 670 F.2d 1148, 1150 (D.C. Cir. 1981). “Green drew

an analogy to the informer’s privilege, which permits the government to withhold the

identity of a person who supplied information about criminal activity.” United States v.

Foster, 986 F.2d 541, 542 (D.C. Cir. 1993); see Green, 670 F.2d at 1155.

             Like confidential informants, hidden observation posts may
             often prove to be useful law enforcement tools, so long as
             they remain secret. Just as the disclosure of an informer’s
             identity may destroy his future usefulness in criminal
             investigations, the identification of a hidden observation post
             will likely destroy the future value of that location for police
             surveillance. The revelation of a surveillance location might
             also threaten the safety of police officers using the
             observation post, or lead to adversity for cooperative owners

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             or occupants of the building. Finally, the assurance of
             nondisclosure of a surveillance location may be necessary to
             encourage property owners or occupants to allow the police to
             make such use of their property.

Green, 670 F.2d at 1155.

      At the same time, Green recognized that “[t]he location of a police observation

post may establish whether the observing officer’s view was open or obstructed, whether

the angle of the officer’s view made the observations easy or difficult, and whether the

distance from the criminal activity enhances or detracts from an officer’s claimed

observation of detail.” Id. Accordingly, “because the location of the observation post

may well be relevant to the defendant’s interests,” Green employed a balancing test

whereby “[t]he Court must balance the Government’s right to keep the information

private with the Defendant’s right to inspect the information.” United States v. Matish,

193 F. Supp. 3d 585, 601 (E.D. Va. 2016); see Green, 670 F.3d at 1156.

      “A defendant seeking to learn the location of a police surveillance post should

ordinarily show that he needs the evidence to conduct his defense and that there are no

adequate alternative means of getting at the same point.” United States v. Harley, 682

F.2d 1018, 1021 (D.C. Cir. 1982). Even assuming for sake of argument that Defendant

has met his burden to show materiality, the Government has agreed to make available

“body cam footage of the officer conducting the surveillance at or near the time that the

purported observations of [Defendant] were made.” ECF No. 38 at 2. See Harley, 682

F.2d at 1021; see also Matish, 193 F. Supp. 3d at 601. At the pretrial motions hearing,

Defendant may cross-examine the officer regarding such things as the distance and


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elevation from which the observations were made; the weather; whether there were any

obstructions in the officer’s line of sight; and whether any assistive devices were used by

the officer to make those observations. Moreover, the location of the subject gas station

is known to Defendant. There is no basis in the record to believe that the gas station

premises is “within the government’s possession, custody, or control,” Fed. R. Crim. P.

16(a)(1)(E), or that Defendant’s counsel and his investigator are unable to inspect and

photograph that location.

        Accordingly, for purposes of the pretrial motions hearing, Defendant’s motion is

granted in part to the extent that the Government and defense counsel shall use their best

efforts to arrange for viewing of the relevant body cam footage within the next seven

days, and is otherwise denied without prejudice. Compare, e.g., Green, 670 F.2d at

1155-57; Matish, 193 F. Supp. 3d at 59 (suppression hearing), with Foster, 986 F.2d at

542-44; Harley, 682 F.2d at 1020-21 (trial).

        B. Motion for Production

        As stated above, the Government has no objection to Defendant’s request that his

jean jacket and the firearm allegedly recovered on his person be produced at the pretrial

motions hearing and “agrees to have those items present.” ECF No. 40 at 8. Therefore,

this motion is granted. 1




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 The Court assumes counsel for the Government will make the necessary arrangements to make these items
available at the hearing. The parties should inform the Court, however, if additional assistance is needed.

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       C. Motion for Continuance

       Defendant seeks a two-week continuance of the October 6, 2022 pretrial motions

hearing. See ECF No. 18 at 3. As stated above, the Government has no objection to the

requested continuance.

       This motion is likewise granted. Pursuant to 18 U.S.C. § 3161(h), this Court finds

that the ends of justice served by granting a continuance outweigh the best interests of the

public and Defendant in a speedy trial and such continuance is necessary to provide

Defendant and his counsel reasonable time necessary for effective preparation and to

make efficient use of the parties’ resources.

                                       III. ORDER

        Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

       1.      Defendant’s Motion for Disclosure of Information Prior to the Pretrial

Hearing Regarding Surveillance Location and Inspection of Surveillance Location Under

Fed. R. Crim. P. 16(a)(1)(E), ECF No. 21, is GRANTED IN PART to the extent that the

Government and defense counsel shall use their best efforts to arrange for viewing of the

relevant body cam footage within the next seven days, and is OTHERWISE DENIED

WITHOUT PREJUDICE.

       2.      Defendant’s Motion for Production of Seized Evidence at the Pretrial

Hearing, ECF No. 22, is GRANTED.

       3.      Defendant’s Motion for Continuance of Pretrial Motions Hearing and Trial

Date, ECF No. 38, is GRANTED.

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        4.       The period of time from September 30 through October 20, 2022, shall

be excluded from Speedy Trial Act computations in this case.

        5.       The pretrial motions hearing scheduled for October 6, 2022, ECF No. 18 at

3, is CONTINUED and shall now take place before the undersigned on October 20,

2022, at 1:00 p.m., in Courtroom 9W, Diana E. Murphy U.S. Courthouse, 300 South

Fourth Street, Minneapolis, Minnesota. 2



Dated: October 5 , 2022                                             s/ Tony N. Leung
                                                             Tony N. Leung
                                                             United States Magistrate Judge
                                                             District of Minnesota


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  To the extent Defendant seeks a continuance of the trial date, “the trial date, and other related dates, will be
rescheduled following the ruling on pretrial motions.” ECF No. 18 at 4. Counsel are reminded that they “must
contact the Courtroom Deputy for District Judge [Joan N.] Ericksen to confirm the new trial date.” ECF No. 18 at 4.

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